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JEF

VS.

WILLARD L. JACKSON, ET AL.,

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

FREY CARTER, Case No.: 1:23-ev-01775

Plaintiff,

NOTICE OF VOLUNTARY
DISMISSAL OF DEFENDANTS
WILLARD L. JACKSON, ROBERT
S. SHUMAKE, NICOLE T. BIRCH,
Cietierdant: 420 REAL ESTATE, LLC,
TRANSATLANTIC REAL
ESTATE, LLC AND BANGL, INC.

prov

Plaintiff(s), by and through their undersigned counsel, hereby

ide notice of the voluntary dismissal of the above-captioned action without

prejudice against the following defendants:

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. WILLARD L. JACKSON
. ROBERT S. SHUMAKE
. NICOLE T. BIRCH

. 420 REAL ESTATE, LLC

. TRANSATLANTIC REAL ESTATE, LLC

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6. BANGI, INC.

The decision to dismiss these defendants follows the court's denial
of two valid motions for requests for service by publication after reasonably
diligent efforts for personal service failed. Despite the Plaintiff(s) having fulfilled
all legal requirements for such service, including providing sufficient evidence
and justification for the necessity of service by publication, the judge denied
these motions. The Plaintiff(s) contend that the judge's denial constitutes an abuse
of discretion, as the motions for service by publication were in accordance with
the legal standards and procedures established under the law.

Pursuant to Federal Rule of Civil Procedure 4(e)(1), service of
process in federal cases can be carried out by following the law of the state where
the district court is located or where service is made. This means that California’s
service of process rules can be used in federal lawsuits as held in California
Indian Hills Holdings, LLC v. Frye, 337 F.R.D. 293, United States v. Oooh, 2017
U.S. Dist. LEXIS 235251, Johnson v. Maraj, 2023 U.S. Dist. LEXIS 191122,
especially since this case is filed in the district court located in Fresno, California.

Under California law, personal service must be attempted with
reasonable diligence before a court will grant service by publication. Reasonable
diligence is generally defined as at least two or three attempts at personal
service at different times and on different days.

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In this case, it was proven that the Plaintiff has attempted service in
a manner which satisfies this standard of “reasonable diligence” and the manner
and number of attempts are equal to other cases in this same court that were
approved for service by publication by the plaintiffs. In the court filing for this
case named PLAINTIFF JEFFREY CARTER’S SECOND APPLICATION TO
SERVE DEFENDANTS WILLARD L. JACKSON, ROBERT SHUMAKE,
NICOLE T. BIRCH, 420 REAL ESTATE, LLC., TRANSATLANTIC REAL
ESTATE, LLC AND BANGI, INC. BY PUBLICATION, Exhibit lc and Exhibit
Id [Doc. 29] reflect how Defendant Willard L. Jackson had personal service
attempted in the only two physical locations that public records reflected for him
in the last years, as well as using an investigation service and public records
searches [Doc. 29, pages 2-3]. The same submission to the court reflected seven
different attempts to serve Defendant Robert Shumake, Jr. [Doc. 29, Exhibit 3b,
Exhibit 4b, Exhibit 5a] at three different addresses which were the most recent
addresses on public record for this defendant. In the same submission to the court
it reflected six different attempts to serve Defendant Nicole Birch [Doc. 29,
Exhibit 6b, 7b, 8b] at three different addresses which were each of the most
recent addresses available on public record for this defendant. For each of these
there were private investigations and public records searches performed as well
as attempts to call and email at every known possible phone number of the
defendants.

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Despite all of the exhaustive and reasonably diligent good faith
efforts exerted by Plaintiff the court still refused to exercise its discretion to allow
service by publication prejudicing this Plaintiff and their pursuit of justice for this
matter.

Pursuant to USCS Fed Rules Civ Proc R 41(a)(1)(A)(i) and under
Rule 4(m) which requires the Defendants to be dismissed for lack of service, the
Plaintiff(s) is dismissing Defendants WILLARD L. JACKSON, ROBERT S.
SHUMAKE, NICOLE T. BIRCH, 420 REAL ESTATE, LLC,
TRANSATLANTIC REAL ESTATE, LLC AND BANGI, INC. from this case
filed in the United States District Court. Plaintiff(s) may dismiss an action
without a court order by filing a notice of dismissal before the opposing
party serves either an answer or a motion for summary judgment. Since
these Defendants have not filed an answer or a motion for summary
judgment, this dismissal of these Defendants listed above is made without
prejudice, as per Rule 41(a)(1)(B), unless the notice states otherwise.

This dismissal is made without prejudice, and Plaintiff(s)

reserve the right to rejoin these Defendants if and when proper service can

be effectuated.

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DATED: August 1, 2024

Respectfully Submitted,
SUPERHEROES AT LAW P.C.

ANTHONY BELL, ESQ.
Attorney for PLAINTIFF

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